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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

MI-JACK PRODUCTS, INC.,
et al.,

Plaintiffs,
vs.

Civ. No. 05-2114-Ma[P

ATLANTIC CONTAINER LINES,
U.S.A., LLC.,

Defendant, and Third
Party- Plaintiff

vs.
PANTAINER, LTD, et al.,

Third-Party
Defendants.

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ORDER DENYING WITHOUT PREJUDICE DEFENDANT PANTAINER'S MOTION TO
AMEND ANSWER TO THIRD-PARTY COMPLAINT

 

Before the Court is third-party defendant Pantainer’s Motion
to Amend Answer to Third-Party Complaint, filed August 12, 2005
(Dkt #15). A review of the record reveals that Pantainer did not
file a certificate of consultation with its motion. Local Rule 7.2
requires that
“[a]ll motions . . . shall be accompanied by a
certificate of counsel . . . affirming that,

after consultation between the parties to the
controversy, they are unable to reach an

Tl‘.is document entered on the docket sheet in compliance
with Flu!e 58 and/or 79(3) FHCP on '

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accord. as to all issues or that all other
parties are in agreement with the action

requested by the motion.” Local Rule
7.2(a)(1)(B). Failure to file a Rule 7.2
certificate “may be deemed good grounds for
denying the motion.” Id.

Therefore, Pantainer’s motion is DENIED, without prejudice.
Pantainer may renew its motion by refiling it with a certificate of
consultation in compliance with Local Rule 7.2.

IT IS SO ORDERED.

/

TU M. PHAM ‘
United States Magistrate Judge

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Date

 

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ESSEE

 

F. Guthrie Castle

CASTLE & ASSOCIATES
6555 Quince Rd.

Ste. 109

1\/lemphis7 TN 38119

Harold W. McLeary

McLEARY DOMICO & KYLE, PLLC
100 Peabody Place

Ste. 1250

1\/lemphis7 TN 38103

Allan B. Thorp

THORP FONES & FRULLA, PLC
5668 S. ReX Rd.

Second Floor

1\/lemphis7 TN 38119

John W. Reis

COZEN O'CONNOR

One Wachovia Center, Suite 2100
301 South College Street
Charlotte, NC 28202

William C. Bateman

BATEMAN GIBSON & CH[LDERS
65 Union Ave.

Ste. 1 0 1 0

1\/lemphis7 TN 38103

Hunter C. Quick
COZEN & O'CONNOR
One First Union Center
Ste. 2100

Charlotte, NC 28202

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Kenneth O. Cooper

McLEARY DOMICO & KYLE, PLLC
100 Peabody Place

Ste. 1250

1\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

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